Case 0:18-cv-62593-DPG Document 212 Entered on FLSD Docket 09/25/2019 Page 1 of 5




                                     UNITED STATES DISTRICT
                                    COURT SOUTHERN DISTRICT
                                          OF FLORIDA

       FEDERAL TRADE COMMISSION,
                                                             Case No.: 18-cv-62593-DPG
                      Plaintiff,
                                                             Amended Protective Order
               v.                                            For Confidential Material

       SIMPLE HEALTH PLANS LLC, et al.,

                      Defendants.



          The Court enters this protective order pursuant to Fed. R. Civ. P. 26(c) and 5.2(e).

  All material obtained in the pretrial discovery of this litigation is presumptively public

  unless it satisfies the conditions set out herein.

  I.      DEFINITIONS

          A.        “Confidential Material” is material produced or received in pretrial

          discovery that: (1) contains information that is not known to be in the public domain,

          such as trade secrets, confidential commercial or financial information, or

          confidential research and development information, and reasonably would cause

          specific or cognizable harm if disclosed publicly or to unauthorized persons; or (2)

          contains “Sensitive Personal Information.”

          B.        “Sensitive Personal Information” means any (a) Social Security number;

          (b) sensitive health-related data including medical records; (c) biometric identifier;

          or (d) any one or more of the following when combined with an individual’s name,

          address, or phone number: (i) date of birth, (ii) driver’s license or other state

          identification number, or a foreign equivalent, (iii) military identification number, (iv)
Case 0:18-cv-62593-DPG Document 212 Entered on FLSD Docket 09/25/2019 Page 2 of 5



        passport number, (v) financial institution account number, (vi) credit or debit card

        number; or (e) other sensitive information relating to an individual entitled to

        confidential status under applicable law or by order of this Court.

  II.   PROVISIONS FOR TREATMENT OF CONFIDENTIAL MATERIAL

        A.     An attorney producing material in discovery may designate material as

        “Confidential Material” if the attorney certifies in good faith that the material

        contains “Confidential Material” as defined in Section I.A above.

               1. The certifying attorney must only designate specific materials that

                  qualify for this designation. Mass, indiscriminate or routinized

                  designations are prohibited.

               2. To the extent practicable, only those parts of documents, items, oral or

                  written

                 communications that require protection shall be designated.

        B.       Confidential Material must be marked as follows:

               1. Mark paper materials “CONFIDENTIAL.” If paper material is only

                  confidential in part, mark only the portions of the material that are

                  confidential.

               2. To the extent possible, mark electronic materials “CONFIDENTIAL” by

                  marking each electronic document that is confidential. Also mark the

                  electronic storage medium, as well as any electronic file and folder

                  name ‘CONFIDENTIAL.”

               3. Designate deposition transcripts as Confidential within ten days of

                  receipt of

                                              2
Case 0:18-cv-62593-DPG Document 212 Entered on FLSD Docket 09/25/2019 Page 3 of 5



                  the final transcript by identifying the specific page(s) and line number(s)

                  that constitute Confidential Material. If testimony is identified as

                  confidential during a deposition, absent agreement on the scope of

                  confidentiality, the entire transcript shall be treated as confidential until

                  ten days after receipt of the final transcript.

        C.     An inadvertent failure to mark Confidential Material prior to disclosure does

  not

        preclude a subsequent designation, but no prior disclosure of newly designated

        Confidential Material by a recipient shall violate this Order.

        D.     Within ten days of a written objection to the designation of Confidential

        Material, the designating party must move the Court to uphold the designation.

        The burden of proving that the designation is proper is on the designating party.

        Failure to seek timely an order upholding the designation terminates confidential

        treatment.

        E.     Confidential Material may only be disclosed to:

                 1. the Court and court personnel;

                 2. any party in this matter;

                 3. the parties’ outside counsel and designated employees only to the

                     extent

                       necessary to assist in the litigation;

                 4. the Court-appointed Receiver, his counsel, and designated

                     employees only to the extent necessary to assist in the litigation;

                 5. experts and contractors consulted or retained by the parties or

                                                3
Case 0:18-cv-62593-DPG Document 212 Entered on FLSD Docket 09/25/2019 Page 4 of 5



                     counsel, and

                     their employees, provided that they agree in writing to abide by this

                     protective   order   or   execute   FTC     Form   X33-Nondisclosure

                     Agreement for Contractors;

                 6. any person, including witnesses, who had prior access to the

                     Confidential Material or participated in a communication that is the

                     subject of the Confidential Material; and

                 7. witnesses and their counsel who agree in writing to abide by this

                     protective order.

        F.     Disclosure of Confidential Material to any person described in Paragraph

        E shall be only for the purposes of the preparation and hearing of this proceeding,

        or any appeal, therefrom.

        G.     Confidential Material shall only be filed with a motion to seal the material,

        unless the party introducing the material provides the designating party notice of

        its intention to publicly file the material at least 14 days in advance of filing to

        provide an opportunity for the designee to seek further protection from the Court.

        If the designee seeks protection within the 14 days, the materials may only be

        filed with a motion to seal until the Court has ruled on the designee’s request.

        H.     At the conclusion of this case, any consultant or other person retained to

        assist counsel in the preparation of this action shall destroy or return all

        Confidential Material and any other materials containing confidential information.

        All Confidential Material held by the parties shall be destroyed or returned to the

        designee, except that the FTC shall retain, return, or destroy Confidential

                                               4
Case 0:18-cv-62593-DPG Document 212 Entered on FLSD Docket 09/25/2019 Page 5 of 5



        Materials in accordance with 16 C.F. R. § 12.

        I.    This Order shall supercede the previous Protective Order entered by the

        Court on January 18, 2019 (D.E. 63).

        J.    This Order continues to govern Confidential Material after conclusion of

        the case absent further order of the Court.


        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 25th day of

  September 2019.




  Copies furnished counsel via CM/ECF




                                             5
